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8
                                  UNITED STATES DISTRICT COURT
9
                                       DISTRICT OF ARIZONA
10
     DENVER PULLIN and PATSY PULLIN, a                 )
11   married couple,                                   )   No. CV 04 2077 PCT FJM
                                                       )
12            Plaintiffs,                              )   DEFENDANT FORD MOTOR
                                                       )   COMPANY’S MOTION FOR
13   vs.                                               )   SUMMARY DISPOSITION
                                                       )
14   BRIDGESTONE/FIRESTONE NORTH                       )
     AMERICAN TIRE L.L.C., a Delaware limited          )
15   liability corporation, doing business in Arizona; )
     FORD MOTOR COMPANY, a Delaware                    )
16   corporation doing business in Arizona;            )
     CHAPARRAL FORD, INC., a Texas                     )
17   Corporation; JOHN DOES I through X and            )
     JANE DOES I through X, their respective           )
18   spouses; BLACK CORPORATIONS I through V )
     and WHITE PARTNERSHIPS I through V,               )
19                                                     )
              Defendants.                              )
20   ______________________________________ )

21          Defendant Ford Motor Company, pursuant to Rule 56, Arizona Rules of Civil

22   Procedure, requests this Court grant Defendant’s Motion for Summary Judgment. The Motion

23   for Summary Judgment was filed and served on Plaintiff and Plaintiff has filed its response

24   indicating that it is not opposing Defendant’s Motion for Summary Judgment.

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          Case 3:04-cv-02077-FJM Document 56 Filed 02/14/06 Page 2 of 3



1           Accordingly, Defendant respectfully requests the Court grant the pending unopposed

2    Motion for Summary Judgment.

3           DATED this 14th day of February, 2006.

4                                                BOWMAN AND BROOKE, LLP
5
                                                           s/Dustin A. Christner
6                                                By:
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1                                 CERTIFICATE OF SERVICE
2
            I hereby certify that on the 14th day of February, 2006, I caused the attached
3
     document to be electronically transmitted to the Clerk’s Office using the CM/ECF
4
     System for filing and transmittal of a Notice of Electronic Filing to the following CM/ECF
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21                                           s/     __Lisa DeWitt_____________
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